                      Case 1:21-cv-00565-RP   Document 497-1
                                         This questionnaire          Filed
                                                            and the juror   08/29/24form
                                                                          information  Page   1 completed
                                                                                         can be of 1      on-line
                                               at: www.txwd.uscourts.gov → Jury Info → General Information → I Received a Summons
Supplemental Questionnaire
Name: (please print): ______________________________                            Participant Number __________________

 Question                                                           Answer
 1. What is your sex?                                               □ Male □ Female

 2. What is your race?                                              □ White □ Black □ Asian □ Native American □ Other

 3. Are you Hispanic?                                               □ Yes □ No

 4. What is your education?                                         □ Grade School □ High School □ College □ Post College

 5. If you are a U.S. Government employee,                          □ Mon. □ Tues. □ Wed. □ Thurs. □ Fri.         □ Sat.   □ Sun.
    please identify your regular days off.

 6. If you have been convicted of a state or federal crime
    punishable by imprisonment for more than one year?

 7. Have you ever filed or been filed against for                   □ Yes □ No
    discrimination?

 8. If you have ever filed or been filed against for
    discrimination give the date and nature of claim.

 9. Have you ever been a plaintiff or defendant in a                □ Yes □ No
    lawsuit?

 10. If you have been a plaintiff or defendant in a
     lawsuit provide the type of case.

 11. Have you ever been a witness in court?                         □ Yes □ No

 12. If you have been a witness in court, please provide
     the type of case.

 13. Have you ever served on a jury?                                □ Yes □ No

 14. If you have served on a jury, please check all of the          □ Grand Jury □ Petit Jury □ Criminal Case □ Civil Case
     following that apply.

 15. Have you ever had any specialized training in any of the       □ Legal □ Paralegal □ Medical □ Banking □ Finance
     following?                                                     □ Engineering

 16. Have you or any member of your immediate family,               □ Yes □ No
     to the best of your knowledge, been the subject of any
     audit or other tax investigation?

 17. If you or any member of your immediate family has been
     the subject of any audit or other tax investigation, please
     describe.

 18. If you have children, please provide their ages.

Revised May 5, 2021

OPTIONAL: My email address (to facilitate faster communication) is: ________________________________________________________


        Exh A
